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 1   Rafey S. Balabanian (SBN 315962)
     rbalabanian@edelson.com
 2   Todd Logan (SBN 305912)
     tlogan@edelson.com
 3   Brandt Silver-Korn (SBN 323530)
     bsilverkorn@edelson.com
 4   EDELSON PC
     123 Townsend Street, Suite 100
 5   San Francisco, California 94107
     Tel: 415.212.9300
 6   Fax: 415.373.9435
 7   Counsel for Plaintiffs and the Proposed Class
 8
                                   UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10
         DONALD NELSON, an individual, and                    Case No. _________________
11       CHEREE BIBBS, an individual, individually
         and on behalf of all others similarly situated,      CLASS ACTION COMPLAINT
12
                                    Plaintiffs,               JURY DEMAND
13
                   v.
14
         APPLE INC., a California corporation,
15
                                    Defendant.
16

17            Plaintiffs Donald Nelson and Cheree Bibbs, individually and on behalf of a proposed

18   class, bring this Class Action Complaint against Apple Inc. seeking restitution, damages, an

19   injunction, and other appropriate relief from Apple’s ongoing participation in an illegal internet

20   gambling enterprise. Plaintiffs allege as follows upon personal knowledge as to themselves and

21   their own acts and experiences, and as to all other matters, upon information and belief.

22                                                INTRODUCTION

23            1.        Over the last decade, the world’s leading slot machine makers—companies like

24   International Game Technology, Scientific Games Corporation, and Aristocrat Leisure—have

25   teamed up with American technology companies to develop a new product line: social casinos.

26            2.        Social casinos are apps, playable from smartphones, tablets, and internet

27   browsers, that make the “authentic Vegas-style1” experience of slot machine gambling available

28   1
           Form F-1/A Doubledown Interactive Co., Ltd., https://sec.report/Document/0001193125-
     20-183157/.
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 1   traditional slot machines with the power the Platforms, including Defendant Apple, to leverage
 2   big data and social network pressures to identify, target, and exploit consumers prone to
 3   addictive behaviors.3
 4           5.       Simply put, the social casino apps do not, and cannot, operate and profit at such a
 5   high level from these illegal games on their own. Their business of targeting, retaining, and
 6   collecting losses from addicted gamblers is inextricably entwined with the Platforms. Not only
 7   do the Platforms retain full control over allowing social casinos into their stores, and their
 8   distribution and promotion therein, but they also share directly in a substantial portion of the
 9   gamblers’ losses, which are collected and controlled by the Platforms themselves.
10           6.       Because the Platforms are the centers for distribution and payment, social casinos
11   gain a critical partner to retain high-spending users and collect player data, a trustworthy
12   marketplace to conduct payment transactions, and the technological means to update their apps
13   with targeted new content designed to keep addicted players spending money.
14           7.       Last year alone, consumers purchased and gambled away an estimated $6 billion
15   in social casino virtual chips.4
16           8.       By utilizing Apple for distribution and payment processing, the social casinos
17   entered into a mutually beneficial business partnership. In exchange for distributing the casino
18   games, providing them valuable data and insight about their players, and collecting money from
19   consumers, Apple (and the other Platforms) take a 30 percent commission off of every wager,
20   earning them billions in revenue. By comparison, the “house” at a traditional casino only takes 1
21   to 15 percent, while also taking on significant risk of loss in its operation. Apple’s 30 percent
22   rake, on the other hand, is guaranteed for its ability to act as a casino “host” and bankroll.
23           9.       The result (and intent) of this dangerous partnership is that consumers become
24   addicted to social casino apps, maxing out their credit cards with purchases amounting to tens or
25   even hundreds of thousands of dollars. Consumers addicted to social casinos suffer a variety of
26   3
            See, e.g., How social casinos leverage Facebook user data to target vulnerable gamblers,
27   PBS NEWS HOUR, youtube.com/watch?v=FFtkFLNJZfM.
     4
            SciPlay Net Income Skyrockets 127 Percent, as Social Gaming Embraced by Americans
28   Sheltered at Home, CASINO.ORG, https://www.casino.org/news/sciplay-net-income-skyrockets-
     127-percent-as-social-gaming-embraced.
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 1   non-financial damages ranging from depression to divorce to attempted suicide.
 2           10.     These devastating consequences are not hypothetical or hyperbole: below are
 3   excerpts of sworn testimony from individuals describing their experiences with three different
 4   social casinos at issue in this case:
 5              •   DoubleDown Casino: “I was drawn to DoubleDown because I could play
                    the same games that I played when I went to real casinos. Overall, I
 6                  estimate that I have spent over $40,000 on chips in DoubleDown Casino. I
                    am addicted to DoubleDown Casino . . . I knew being on DoubleDown
 7                  Casino every day for hours was a problem, but I couldn’t seem to stop. I
                    believe that DoubleDown is taking advantage of people’s addictions. They
 8                  know that gambling is addictive, and they act exactly like a physical casino
                    that pays out money. I feel alone and embarrassed about spending money to
 9                  do something that only feeds my addiction. DoubleDown Casino consumes
                    you, and makes you feel like you always have to go play. I feel guilty
10                  because I’ve spent money on DoubleDown that I’ve needed to pay bills or
                    buy food.” Exhibit 1, Declaration of Willa Moore [emphasis added].
11
                •   DoubleDown Casino: “I believe I have spent close to $25,000 on
12                  DoubleDown Casino. I would buy the chips with a credit card which I
                    couldn’t pay in-full, so there’s interest on top of that too . . . I was a well-
13                  respected, active member of my community who owned my own business
                    for 36 years. But when I retired, and my fellow started having health
14                  problems, DoubleDown Casino made me fall into the trap of escape and
                    adrenaline rush to cope with all my other responsibilities. When I won, it
15                  was just great. When I lost, and started buying more and more chips, I felt
                    lower than pond scum. I was sick to my stomach, felt like a total loser,
16                  wondered about suicide (although I would never leave my partner), could
                    not sleep, had anxiety attacks with a rushing heart, and couldn’t eat. I just
17                  couldn’t understand how I could let it get so out of control. It was as if it
                    had a power over me that I couldn’t break. I couldn’t stop.” Exhibit 2,
18                  Declaration of Jan Saari [emphasis added].
                •   Jackpot Party Casino: “Overall, I believe that I have spent between
19                  $10,000-$20,000 playing Jackpot Party Casino. I was addicted to Jackpot
                    Party Casino and I hate that . . . This kind of loss put a huge strain on my
20                  ability to even buy food . . . I believe Jackpot Party Casino had been taking
                    advantage of my addiction . . . This game hurt me and the worst part was
21                  that when my husband was alive, he would say, ‘You’re not spending
                    money on there are you?’ and I lied. I hate that I have to live with that
22                  now.” Exhibit 3, Declaration of Laura Perkinson [emphasis added].
23              •   Jackpot Party Casino: “I believe that I’ve spent at least $30,000 on
                    Jackpot Party Casino . . . I am going through a divorce right now, in part
24                  because of how much money I spent on Jackpot Party . . . Scientific Games
                    will provide incentives to their top spenders so that they continue to spend.
25                  I have received Christmas gifts two times. They have sent me a robe, oils,
                    phone charger, bath bombs, a blanket, and more. I know that they have sent
26                  other players flowers and candies . . . This game has changed my way of
                    thinking and caring. I never thought I would get addicted to anything
27                  except cigarettes, but this has taken too much of my life away. I don’t
                    know how my life would be different without this game, but I know that it
28                  would be better and I know that I would be much better off financially . . . I

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                    wish it didn’t exist.” Exhibit 4, Declaration of Donna Reed [emphasis
 1                  added].
 2             •    High 5 Casino: “I have spent at least $10,000 on coins in High 5 Casino . .
                    . I believe I am addicted to High 5 Casino . . . I have tried to quit but I
 3                  believe three weeks is the longest amount of time I’ve ever been able to
                    stop . . . Sometimes I feel guilty about playing High 5 Casino and spending
 4                  so much money. My husband does not know I have spent money on it. My
                    grandkids will sometimes ask for money and I can’t give it to them because
 5                  I have to save it for this game.” Exhibit 5, Declaration of Aida Glover
                    [emphasis added].
 6

 7          12.      Unsurprisingly, social casinos are illegal under many states’ gambling laws.

 8          13.      As the Ninth Circuit held in Kater v. Churchill Downs Inc., 886 F.3d 784, 785

 9   (9th Cir. 2018):

10                In this appeal, we consider whether the virtual game platform “Big Fish
                  Casino” constitutes illegal gambling under Washington law. Defendant–
11                Appellee Churchill Downs, the game’s owner and operator, has made
                  millions of dollars off of Big Fish Casino. However, despite collecting
12                millions in revenue, Churchill Downs, like Captain Renault in Casablanca,
                  purports to be shocked—shocked!—to find that Big Fish Casino could
13                constitute illegal gambling. We are not. We therefore reverse the district
                  court and hold that because Big Fish Casino’s virtual chips are a “thing of
14                value,” Big Fish Casino constitutes illegal gambling under Washington law.
15

16          14.      As an instructive example, DoubleDown Casino is illegal both in Washington and
17   here in California (where the Platforms, including Defendant Apple, host it and collect their 30%
18   rake). This year, consumers will purchase approximately $300 million worth of virtual casino
19   chips in DoubleDown Casino. That $300 million will be divided up approximately as follows:
20   $170 million to DoubleDown; $30 million to International Game Technology (“IGT”) (a
21   multinational slot machine manufacturer that licenses slot machine game IP to DoubleDown);
22   and—as particularly relevant here—the remaining $100 million to Apple and the other Platforms
23   (for hosting the app, driving vulnerable consumers to it, and processing the payments for those
24   consumers’ virtual chip purchases).
25          15.      In other words, despite knowing that DoubleDown Casino is illegal, Apple and
26   the other Platforms continue to maintain a sizable (30%) financial interest by hosting the game,
27   driving customers to it, and acting as the bank.
28          16.      As such, DoubleDown, Apple, and the other Platforms are all liable as co-

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 1   conspirators to an illegal gambling enterprise. Moreover, DoubleDown Casino is just one of
 2   more than fifty social casino apps (the “Illegal Slots”) that the Platforms illegally host and profit
 3   from.
 4           17.    Consequently, Apple and the other Platforms—alongside the Illegal Slot
 5   companies—are liable as co-conspirators to an illegal gambling conspiracy.
 6           18.    Defendant Apple, for its part, is a direct participant in an informal association and
 7   enterprise of individuals and entities with the explicit purpose of knowingly devising and
 8   operating an online gambling scheme to exploit consumers and reap billions in profits (the
 9   “Social Casino Enterprise”).
10           19.    This ongoing Enterprise necessarily promotes the success of each of its members:
11   Social casino operators, like DoubleDown, need Platforms like Apple, Google, and Facebook, to
12   access consumers, host their games, and process payments. The Platforms, for their part, need
13   developers like DoubleDown to publish profit-driven and addictive applications on their
14   platforms to generate massive revenue streams.
15           20.    Through this case, Plaintiffs seek to force Apple to stop participating in, and to
16   return to consumers the money it has illegally profited from, the Social Casino Enterprise.
17           21.    Plaintiffs, on behalf of the putative Class, bring claims for damages and for
18   injunctive relief under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §
19   1961, et seq. (“RICO”), and California’s Unfair Competition Law, Business and Professions
20   Code § 17200, et seq. (“UCL”).
21                                                PARTIES
22           22.    Plaintiff Donald Nelson is a natural person and a citizen of the State of
23   Wisconsin.
24           23.    Plaintiff Cheree Bibbs is a natural person and a citizen of the State of Alabama.
25           24.    Defendant Apple Inc. is a corporation existing under the laws of the State of
26   California with its principal place of business located at 1 Infinite Loop, Cupertino, California
27   95014. Apple regularly conducts and transacts business in this District, as well as throughout the
28   United States. Apple manufactures, markets, and sells the iPhone, among other electronic

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 1   devices, and owns and operates the Apple App Store, which comes preinstalled on every Apple
 2   device.
 3                                      JURISDICTION AND VENUE
 4             25.     Federal subject-matter jurisdiction exists under 28 U.S.C. § 1332(d)(2) because
 5   (a) at least one member of the proposed class is a citizen of a state different from Defendant, (b)
 6   the amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (c) none of
 7   the exceptions under that subsection apply to this action.
 8             26.     The Court has personal jurisdiction over Defendant because Defendant is
 9   headquartered in this District and Defendant’s alleged wrongful conduct occurred in and
10   emanated from this District.
11             27.     Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial
12   part of the events giving rise to Plaintiffs’ claims occurred in and emanated from this District.
13                                       GENERAL ALLEGATIONS
14   I.        Social Casinos Are Illegal Slot Machines Under California Law .
15             28.     Slot machines have long been outlawed in California.
16             29.     California law recognizes that a device can be an illegal slot machine without
17   offering users the opportunity to win money.
18             30.     In fact, if a gaming machine has the look and feel of a slot machine, accepts real
19   money for gameplay, and rewards a winning spin with an “additional chance or right to use the
20   slot machine or device,” the device is an illegal slot machine.
21             31.     Consequently, social casinos, as described herein, are illegal slot machines under
22   California law.
23             32.     California gambling law is, on this point, consistent with the laws of many other
24   states—including Washington. In Kater, for example, the Ninth Circuit held that social casinos
25   are illegal under Washington law because, while users cannot win money, social casino chips are
26   “things of value” because they can be purchased for money, are awarded as prizes in social
27   casino slot machines, and then can be used to allow players to keep spinning social casino slot
28   machines. After two years of subsequent litigation, the parties in Kater reached a $155 million

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 1   nationwide class action settlement. The settlement was preliminarily approved and a final
 2   approval hearing is set for February 2021.5
 3          33.     California aggressively regulates all forms of gambling. One reason it does so is
 4   to prevent consumers from being cheated by professional gambling operations.
 5          34.     Because social casinos have previously operated as if they were not subject to
 6   gambling regulations, they do not comply with any of the regulations that govern the operation
 7   of slot machines.
 8          35.     Notably, while any legitimately operated slot machine must randomize its results,
 9   social casinos do not randomize their results. Instead, social casinos tailor “wins” and “losses” in
10   such a way as to maximize addiction (and, in turn, revenues). As the CEO of Double Down
11   Casino once explained, “[o]ur games aren’t built to be bulletproof like you’d need to be if you’re
12   a real gambling company. We can do things to make our games more [fun] that if you were an
13   operator in Vegas you’d go to jail for, because we change the odds just for fun.”6
14          36.     In other words, social casinos are not just illegal under California law, but they
15   would not be legal slot machines under any state law as they cheat players out of a legitimately
16   randomized slot machine experience. Not only can players never actually win money, but their
17   financial losses are maximized by deceptive gameplay tweaks that would never be allowed in a
18   legitimate slot machine.
19   II.    Apple Hosts and Facilitates At Least Fifty Illegal Social Casinos.
20          37.     The Platforms, including Defendant Apple, have directly assisted in creating the
21   unregulated market of virtual casino games from the outset of the industry.
22

23   5
             Settlements in two related cases were also preliminarily approved and are likewise set for
     final approval in February 2021. Three more related cases are being litigated in Washington,
24   against the owners and operators of certain social casino games. See Wilson v. PTT, LLC, 351 F.
     Supp. 3d 1325, 1337 (W.D. Wash. Dec. 14, 2018) (settled); Wilson v. Playtika, Ltd., 349 F.
25   Supp. 3d 1028, 1041 (W.D. Wash. Nov. 20, 2018) (settled); Fife v. Sci. Games Corp., No. 2:18-
     CV-00565-RBL, 2018 WL 6620485, at *4 (W.D. Wash. Dec. 18, 2018) (in litigation); and
26   Wilson v. Huuuge, Inc., No. 3:18-cv-05276, 2018 WL 5921019 (W.D. Wash. Nov. 13, 2018)
     (same); Benson v. Double Down Interactive, LLC, 798 F. App'x 117 (9th Cir. 2020) (same).
27   6
             Gambling giant IGT buying Double Down for $500M, moving into Facebook games,
28   GEEK WIRE, https://www.geekwire.com/2012/gambling-giant-igt-buying-doubledown-500m-
     moving-facebook-games/ [emphasis added].
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 1           38.      Before gaining access to these social media platforms, the Illegal Slots used
 2   methods like loyalty cards to track data on how much gamblers spent, how frequently they
 3   played, or how often they bet. The Platform partnerships upgraded their business model to an in-
 4   app payment system and provided additional user data which skyrocketed revenue by providing
 5   them with access to a whole new market of consumers.
 6           39.      The core marketing for the Illegal Slots is accomplished in concert with the
 7   Platforms, and their systems are inextricably linked. Double Down described this very setup in a
 8   public filing:
 9
             Our games are distributed through several main platform providers, including
10           Apple, Facebook, Google, and Amazon, which also provide us valuable
             information and data, such as the rankings of our games. Substantially all of our
11           revenue is generated by players using those platforms. Consequently, our
             expansion and prospects depend on our continued relationships with these
12           providers.
             ….
13
             We focus our marketing efforts on acquiring new players and retaining existing
14           players. We acquire players both organically and through paid channels. Our paid
             marketing includes performance marketing and dynamic media buying on
15           Facebook, Google, and other channels such as mobile ad networks. Underlying
             our paid marketing efforts are our data analytics that allow us to estimate the
16           expected value of a player and adjust our user acquisition spend to a targeted
             payback period. Our broad capabilities in promotions allow us to tailor
17           promotional activity around new releases, execute differentiated multi-channel
             campaigns, and reach players with preferred creative content.
18           ….
19           Our player retention marketing includes advertising on Facebook as well as
             outreach through email, push notifications, and social media posts on channels
20           such as Facebook, Instagram, and Pinterest. Our data and analytics also inform
             our retention marketing efforts. Campaigns are specially designed for each
21           channel based upon player preferences for dimensions such as time of day and
             creative content. We consistently monitor marketing results and return on
22           investment, replacing ineffective marketing tactics to optimize and improve
             channel performance.
23           ….
24           We employ a rigorous, data-driven approach to player lifecycle management
             from user acquisition to ongoing engagement and monetization. We use
25           internally-developed analytic tools to segment and target players and to
             optimize user acquisition spend across multiple channels.
26           ….
27

28

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            We continuously gather and analyze detailed customer play behavior and
 1          assess this data in relation to our judgments used for revenue recognition.7
 2

 3          40.       By moving to online platforms for marketing, distribution, and payment

 4   processing, Defendant Apple entered into a mutually beneficial business partnership with the

 5   Illegal Slots. In exchange for pushing and distributing the social casino apps and collecting

 6   money from consumers, Apple and the other Platforms take a 30 percent commission off of

 7   every in-app purchase, earning them billions in revenue.

 8          41.       Prior to being published in the Apple App Store, developers must submit their app

 9   for review. In this process, Apple examines whether the app violates any company policies and

10   demands that apps comply with all relevant laws within the jurisdiction where the app is

11   available. Apps may be, and often are, removed at Apple’s discretion for violating its policies

12   and can be audited at any time.

13          42.       Apple closely monitors its gambling liability by responding to the changing

14   market landscape when it deems necessary. Apple likewise heavily regulates advertising in its

15   system that involves gambling, stating “Gambling, gaming, and lotteries can be tricky to manage

16   and tend to be one of the most regulated offerings on the App Store. Only include this

17   functionality if you’ve fully vetted your legal obligations everywhere you make your app

18   available and are prepared for extra time during the review process.”8

19          43.       As such, Apple, and the Platforms, through their App review process, are keenly

20   aware of the illegal and deceptive nature of the Illegal Slots. Apple knew of the unlawful nature

21   of the Illegal Slots and nonetheless knowingly hosted the unlawful gambling apps and promoted

22   their success.

23          44.       Furthermore, on information and belief, in the wake of the Kater decision, the

24   Platforms did not remove any social casinos from their offerings and conferred with each other at

25   that time, jointly deciding that they would each continue to offer illegal social casino games.

26
     7
             Form F-1/A Doubledown Interactive Co., Ltd., https://sec.report/Document/0001193125-
27   20-183157/.
     8
28           App Store Review Guidelines, Apple.com, https://developer.apple.com/app-
     store/review/guidelines/#other-business-model-issues.
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 1               A. The Illegal Slots
 2            45.    Each of the following fifty social casinos offered by Apple (together the “Illegal
 3   Slots”) is an illegal slot machine under California law.9
 4                                          Figure 4 – The Illegal Slots
 5       #  Game Title                             Apple App Store URL
 6        1 Slotomania Vegas Casino Slots          https://apps.apple.com/US/app/id447553564?l=en
          2 Jackpot Party - Casino Slots           https://apps.apple.com/US/app/id575980917?l=en
 7        3 Cashman Casino Las Vegas Slots         https://apps.apple.com/US/app/id1123582513?l=e
                                                   n
 8        4 DoubleDown - Casino Slots Game         https://apps.apple.com/US/app/id485126024?l=en
 9        5 CashFrenzy - Slots Casino              https://apps.apple.com/US/app/id1404165333?l=e
                                                   n
10        6 House of Fun: Casino Slots 777         https://apps.apple.com/US/app/id586634331?l=en
          7 Huuuge Casino Slots Vegas 777          https://apps.apple.com/US/app/id1028362533?l=e
11                                                 n
          8 Heart of Vegas Casino Slots            https://apps.apple.com/US/app/id785537179?l=en
12
          9 Lightning Link Casino Slots            https://apps.apple.com/US/app/id1243005112?l=e
13                                                 n
         10 POP! Slots Live Vegas Casino           https://apps.apple.com/US/app/id1065980436?l=e
14                                                 n
         11 DoubleU Casino: Vegas Slots            https://apps.apple.com/US/app/id642727743?l=en
15       12 Caesars Casino: Vegas Slots            https://apps.apple.com/US/app/id603097018?l=en
16       13 Lotsa Slots - Vegas Casino             https://apps.apple.com/US/app/id1356045010?l=e
                                                   n
17       14   myVEGAS Slots - Casino Slots         https://apps.apple.com/US/app/id714508224?l=en
         15   Gold Fish Casino Slots Games         https://apps.apple.com/US/app/id806393795?l=en
18       16   Wizard of Oz: Casino Slots           https://apps.apple.com/US/app/id916869395?l=en
19       17   Quick Hit Slots - Casino Games       https://apps.apple.com/US/app/id945621521?l=en
         18   Cash Tornado Slots - Casino          https://apps.apple.com/US/app/id1480805172?l=e
20                                                 n
         19 Billionaire Casino Slots 777           https://apps.apple.com/US/app/id1098617974?l=e
21                                                 n
         20 Game of Thrones Slots Casino           https://apps.apple.com/US/app/id1369317521?l=e
22                                                 n
         21 Hit it Rich! Lucky Vegas Slot          https://apps.apple.com/US/app/id694876905?l=en
23
         22 my KONAMI - Real Vegas Slots           https://apps.apple.com/US/app/id1040172229?l=e
24                                                 n
         23 Jackpot World - Casino Slots           https://apps.apple.com/US/app/id1356980152?l=e
25                                                 n
         24 Scatter Slots - Slot Machines          https://apps.apple.com/US/app/id944158857?l=en
26

27   9
             For the Court’s convenience, an iPad containing Apple-based versions of the Illegal Slots
28   will be lodged with the Court as Exhibit 6. Upon request from Apple’s appearing counsel, a copy
     of the iPad will be produced to Apple.
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      25 Double Win Slots Casino Game            https://apps.apple.com/US/app/id1382108510?l=e
 1                                               n
      26 88 Fortunes Slots Casino Games          https://apps.apple.com/US/app/id1091301948?l=e
 2                                               n
      27 Wynn Slots - Las Vegas Casino           https://apps.apple.com/US/app/id1323336775?l=e
 3                                               n
      28 Willy Wonka Slots Vegas Casino          https://apps.apple.com/US/app/id1074470421?l=e
 4                                               n
      29 Vegas Live Slots Casino                 https://apps.apple.com/US/app/id1304885184?l=e
 5                                               n
 6    30 MONOPOLY Slots - Casino                 https://apps.apple.com/US/app/id1215145992?l=e
         Games                                   n
 7    31 Classic Casino Slots Games              https://apps.apple.com/US/app/id1116870834?l=e
                                                 n
 8    32 GSN Casino: Slot Machine Games          https://apps.apple.com/US/app/id469231420?l=en
      33 Rock N' Cash Casino Slots               https://apps.apple.com/US/app/id1143409775?l=e
 9                                               n
      34 Slot Machines 777 - Slots Era           https://apps.apple.com/US/app/id1133138987?l=e
10                                               n
      35 Wild Classic Slots Casino               https://apps.apple.com/US/app/id1135852485?l=e
11                                               n
      36 Club Vegas Slots: Casino Games          https://apps.apple.com/US/app/id1201054588?l=e
12                                               n
      37 Ignite Classic Slots                    https://apps.apple.com/US/app/id1256307081?l=e
13                                               n
      38 Slots - Classic Vegas Casino            https://apps.apple.com/US/app/id994102781?l=en
14
      39 Cash Mania - Casino Slots               https://apps.apple.com/US/app/id1518723506?l=e
15                                               n
      40 Hot Shot Casino - Slots Games           https://apps.apple.com/US/app/id986110430?l=en
16    41 Double Hit Casino: Vegas Slots          https://apps.apple.com/US/app/id1016431735?l=e
                                                 n
17    42 Huge Win Slots! Casino Games            https://apps.apple.com/US/app/id1247414258?l=e
                                                 n
18    43 Winning Slots Las Vegas Casino          https://apps.apple.com/US/app/id1330550298?l=e
                                                 n
19    44 High 5 Casino: Home of Slots            https://apps.apple.com/US/app/id673354210?l=en
      45 Tycoon Casino - Vegas Slots             https://apps.apple.com/US/app/id1437618231?l=e
20                                               n
21    46 Casino Games - Infinity Slots           https://apps.apple.com/US/app/id950710606?l=en
      47 Slots DoubleDown Fort Knox              https://apps.apple.com/US/app/id1334300759?l=e
22                                               n
      48 Golden Casino – Vegas Slots             https://apps.apple.com/US/app/id1216780424?l=e
23                                               n
      49 Jackpotjoy Slots New 777 Games          https://apps.apple.com/US/app/id1355023074?l=e
24                                               n
      50 Show Me Vegas Slots Casino App          https://apps.apple.com/US/app/id1172073178?l=e
25                                               n
26

27          46.    Most or all of the Illegal Slots are also hosted and promoted by the other Platform
28   members of the Social Casino Enterprise, Google and Facebook.

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 1          B.      Apple’s Facilitation, Promotion, and Control Over the Illegal Slots
 2          47.     Apple, for its part, routinely facilitates the success of social casinos by counseling
 3   the app developers through the app launch process and providing them with resources and
 4   business tools necessary to maximize their success on the Apple App Store.
 5          48.     The Illegal Slot companies and Apple monitor the game activity and use the
 6   collected data to increase user spending. This access to data is critical for the developers: Since
 7   all payment processing occurs through third-party platforms, the Illegal Slot companies have
 8   limited access to personal user data unless players login through Apple or otherwise sign up for
 9   loyalty programs.10
10          49.     Because the Illegal Slots depend on the spending of a small targeted audience, the
11   Illegal Slot companies and Platforms work together to target and exploit high-spending users, or
12   “whales,” as Illegal Slot companies like Double Down refer to their top spenders.11
13          50.     The data that the Illegal Slot companies and the Platforms collect on monetization
14   necessarily contributes to the structure and success of the Social Casino Enterprise.
15          51.     Apple allows Illegal Slot companies to target high spending users and activate
16   non-spending users. Apple aids in the design and direction of targeted advertising, both on and
17   within its App Store and other related Apple platforms, all aimed at driving new customers to the
18   Illegal Slots and retaining current gamblers
19          52.     Likewise, because they act as the “bank” for the Illegal Slots, the Platforms are
20   entirely aware that some consumers spend hundreds of thousands on the Illegal Slots.
21          53.     Additionally, because the Illegal Slots are required to use Apple’s payment
22   system to process all in-game purchases, Apple collects a 30 percent service fee off of every
23   transaction. If Apple ever discovers an illegal or fraudulent transaction in breach of its Apple’s
24   terms or policies, it can deny developers from redeeming the proceeds in its active balance.
25

26   10
             Form F-1/A Doubledown Interactive Co., Ltd., https://sec.report/Document/0001193125-
     20-183157/.
27   11
             The Journey From a Single-App to a Multi-App Company,
28   https://youtu.be/PY8gh8M6T20?t=1260 (Joe Sigrist, Double Down General Manager: “We track
     our whales”).
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 1            54.   Unfortunately, Apple used their developer tools to take advantage of users with
 2   severe gambling problems. As a result, Apple has unlawfully made billions of dollars on the
 3   backs of consumers.
 4   III.     California’s Public Policy Against Enforcing Gambling Contracts Means Plaintiffs
              Must Turn to Federal Law to Recover Their Damages.
 5

 6            55.   Under California’s in pari delicto doctrine, California courts generally refuse to
 7   enforce gambling debts or to help plaintiffs recover gambling losses, except where a statute
 8   confers a right to bring such claims.
 9            56.   California’s in pari delicto doctrine does not bar this Court from issuing an
10   injunction, under California law, enjoining Apple’s participation in the Social Casino Enterprise.
11            57.   Moreover, federal law—specifically, RICO—confers upon Plaintiffs a right of
12   action, enforceable by this Court, to recover their alleged damages from Apple.
13                     FACTS SPECIFIC TO PLAINTIFF DONALD NELSON
14            58.   Plaintiff Nelson has paid money to DoubleDown Casino, through Defendant
15   Apple, for nearly ten years. Plaintiff Nelson is addicted to DoubleDown Casino.
16            59.   Plaintiff Nelson would often play DoubleDown Casino for several hours per day
17   and spend hundreds of dollars per day.
18            60.   Playing DoubleDown Casino has had a devastating impact on Plaintiff Nelson’s
19   life. In total, Plaintiff Nelson has lost at least $15,000 playing DoubleDown Casino.
20            61.   Playing the game and its related losses has also placed a significant strain on his
21   personal relationships and cause him great financial hardship.
22                       FACTS SPECIFIC TO PLAINTIFF CHEREE BIBBS
23            62.   Plaintiff Bibbs has paid money to DoubleDown Casino, Jackpot Party, and
24   Slotomania, through Defendant Apple, for at least five years. Plaintiff Bibbs is addicted to these
25   games.
26            63.   Playing these games through Defendant Apple has had a negative impact on
27   Plaintiff Bibbs’s life. In total, she has lost approximately $15,000.
28            64.   Plaintiff Bibbs’s addiction has put significant strain on her personal relationships,

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 1   her financial security, and her mental well-being.
 2                                       CLASS ALLEGATIONS
 3          65.      Class Definition: Plaintiffs bring this action pursuant to Fed. R. Civ. P. 23(b)(2)
 4   and (b)(3) on behalf of themselves and a Class of similarly situated individuals, defined as
 5   follows:
 6
            All persons in the United States who have lost money to any Illegal Slots through
 7          the Apple platform.
 8
 9   The following people are excluded from the Class: (1) any Judge or Magistrate presiding over
10   this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,
11   successors, predecessors, and any entity in which the Defendant or its parents have a controlling
12   interest and their current or former employees, officers and directors; (3) persons who properly
13   execute and file a timely request for exclusion from the Class; (4) persons whose claims in this
14   matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiffs’ counsel
15   and Defendant’s counsel; and (6) the legal representatives, successors, and assigns of any such
16   excluded persons.
17          66.      Numerosity: On information and belief, tens of thousands of consumers fall into
18   the definition of the Class. Members of the Class can be identified through Defendant’s records,
19   discovery, and other third-party sources.
20          67.      Commonality and Predominance: There are many questions of law and fact
21   common to Plaintiffs’ and the Class’s claims, and those questions predominate over any
22   questions that may affect individual members of the Class. Common questions for the Class
23   include, but are not necessarily limited to the following:
24              A.     Whether the Illegal Slots are illegal slot machines as defined by California
25                     Penal Code §330b.
26              B.     Whether Apple, pursuant to California Penal Code §330.1, is liable for having
27                     the Illegal Slots in its management, possession, or control;
28

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 1            C.      Whether Apple, pursuant to California Penal Code §330b, is liable for profiting
 2                    off of the Illegal Slots;
 3            D.      Whether Apple should be enjoined from further participation in the Social
 4                    Casino Enterprise;
 5            E.      Whether Apple is a participant in the Social Casino Enterprise; and
 6            F.      Whether Apple has committed illegal predicate acts under the Racketeer
 7                    Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq.
 8         68.     Typicality: Plaintiffs’ claims are typical of the claims of other members of the
 9   Class in that Plaintiffs’ and the members of the Class sustained damages arising out of
10   Defendant’s wrongful conduct.
11         69.     Adequate Representation: Plaintiffs will fairly and adequately represent and
12   protect the interests of the Class and have retained counsel competent and experienced in
13   complex litigation and class actions. Plaintiffs’ claims are representative of the claims of the
14   other members of the Class, as Plaintiffs and each member of the Class lost money playing the
15   Illegal Slots. Plaintiffs also have no interests antagonistic to those of the Class, and Defendant
16   has no defenses unique to Plaintiffs. Plaintiffs and their counsel are committed to vigorously
17   prosecuting this action on behalf of the Class and have the financial resources to do so. Neither
18   Plaintiffs nor their counsel have any interest adverse to the Class.
19         70.     Policies Generally Applicable to the Class: This class action is appropriate for
20   certification because Defendant has acted or refused to act on grounds generally applicable to
21   the Class as a whole, thereby requiring the Court’s imposition of uniform relief to ensure
22   compatible standards of conduct toward the members of the Class and making final injunctive
23   relief appropriate with respect to the Class as a whole. Defendant’s policies that Plaintiffs
24   challenge apply and affect members of the Class uniformly, and Plaintiffs’ challenge of these
25   policies hinges on Defendant’s conduct with respect to the Class as a whole, not on facts or law
26   applicable only to Plaintiffs. The factual and legal bases of Defendant’s liability to Plaintiffs
27   and to the other members of the Class are the same.
28

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 1         71.     Superiority: This case is also appropriate for certification because class
 2   proceedings are superior to all other available methods for the fair and efficient adjudication of
 3   this controversy. The harm suffered by the individual members of the Class is likely to have
 4   been relatively small compared to the burden and expense of prosecuting individual actions to
 5   redress Defendant’s wrongful conduct. Absent a class action, it would be difficult for the
 6   individual members of the Class to obtain effective relief from Defendant. Even if members of
 7   the Class themselves could sustain such individual litigation, it would not be preferable to a
 8   class action because individual litigation would increase the delay and expense to all parties and
 9   the Court and require duplicative consideration of the legal and factual issues presented. By
10   contrast, a class action presents far fewer management difficulties and provides the benefits of
11   single adjudication, economy of scale, and comprehensive supervision by a single Court.
12   Economies of time, effort, and expense will be fostered and uniformity of decisions will be
13   ensured.
14         72.     Plaintiffs reserve the right to revise each of the foregoing allegations based on
15   facts learned through additional investigation and in discovery.
16                                            COUNT I
                       Cal. Business and Professions Code § 17200, et seq. (UCL)
17                                    Unlawful Business Practices
                                       (Injunctive Relief Only)
18
19         73.     Plaintiffs incorporate the foregoing allegations as if fully set forth herein.
20         74.     Plaintiffs have suffered injury in fact and have lost money or property as a result
21   of Apple’s allegedly unlawful conduct.
22         75.     The Illegal Slots are illegal slot machines as defined by Cal. Penal Code 330b(d)
23   because, among other reasons, when a player purchases and wagers virtual casino chips in the
24   Illegal Slots, a winning spin affords the player an “additional chance or right to use” the Illegal
25   Slots. Pursuant to Cal. Penal Code 330b(a), Defendant Apple, among other violative conduct,
26   manufactures, repairs, owns, stores, possesses, sells, rents, leases, lets on shares, lends and gives
27   away, transports, and expose for sale or lease, the Illegal Slots. Apple also offers to repair, sells,
28   rents, leases, lets on shares, lends and gives away, permit the operations, placement,

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 1   maintenance, and keeping of, in places, rooms, spaces, and buildings owned, leased, or
 2   occupied, managed, or controlled by Apple, the Illegal Slots.
 3          76.     The Illegal Slots are illegal slot machines as defined by Cal. Penal Code 330.1
 4   because, among other reasons, when a player purchases and wagers virtual casino chips in the
 5   Illegal Slots, a winning spin affords the player an “additional chance or right to use” the Illegal
 6   Slots. Pursuant to Cal. Penal Code 330.1(a), Defendant Apple, among other violative conduct,
 7   manufactures, owns, stores, keeps, possesses, sells, rents, leases, lets on shares, lends and gives
 8   away, transports, and exposes for sale and lease, the Illegal Slots. Apple also offers to sell, rent,
 9   lease, let on shares, lends and gives away and permits the operation of and permits to be placed,
10   maintained, used, or kept in rooms, spaces, and building owned, leased, or occupied by Apple
11   or under Apple’s management and control, the Illegal Slots.
12          77.     California’s Unfair Competition Law (“UCL”), Business and Professions Code §
13   17203, specifically authorizes this Court to issue injunctive relief to enjoin ongoing acts of
14   unfair competition and unlawful conduct.
15          78.     Under the UCL, unfair competition encompasses any unlawful act, including acts
16   made unlawful under the penal code and acts made unlawful by federal law.
17          79.     Consequently, the UCL authorizes this Court to enjoin Apple’s ongoing violations
18   of Sections 330b and 330.1 of the California Penal, as well as violations of the federal RICO
19   law.
20          80.     Plaintiffs, on behalf of themselves and the Class, seek an order from the Court,
21   enjoining Apple from further participation in the Social Casino Enterprise.
22
                                              COUNT II
23                                   18 U.S.C. § 1962(c) (RICO)
                       Racketeering Activities and Collection of Unlawful Debts
24                                (Damages and Injunctive Relief)
25          81.     Plaintiffs incorporate by reference the foregoing allegations as if fully set forth
26   herein.
27

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 1          82.      At all relevant times, Apple is and has been a “person” within the meaning of 18
 2   U.S.C. § 1961(3), because it is capable of holding, and does hold, “a legal or beneficial interest
 3   in property.”
 4          83.      Plaintiffs are each a “person,” as that term is defined in 18 U.S.C. § 1961(3), and
 5   have standing to sue as they were injured in their business and/or property as a result of the
 6   Social Casino Enterprise’s wrongful conduct described herein, including but not limited to
 7   Defendant Apple, the Platforms, and the Illegal Slots (1) having unlawfully taken and received
 8   money from Plaintiffs and the Class; (2) never provided Plaintiffs and members of the Class a
 9   fair and objective chance to win—they could only lose; and (3) directly and knowingly profited
10   from, on information and belief, rigged and manipulated slot machines.
11          84.      Section 1962(c) makes it unlawful “for any person employed by or associated
12   with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,
13   to conduct or participate, directly or indirectly, in the conduct of such enterprise's affairs
14   through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C. § 1962(c).
15          85.      18 U.S.C. § 1961(1) defines “racketeering activity” to include, among other
16   things, (i) any act which is indictable under Title 18, Section 1084 of the United States Code
17   (relating to the transmission of gambling information); and (ii) any act which is indictable under
18   Title 18, Section 1955 of the United States Code (relating to the prohibition of illegal gambling
19   businesses).
20          86.      Because illegal gambling is indictable under both Section 1084 and Section 1955
21   of Title 18 of the United States Code, the Social Enterprise is engaged in “racketeering
22   activity.”
23          87.      18 U.S.C. § 1961(6) defines “unlawful debt” as a debt “(A) incurred or contracted
24   in gambling activity which was in violation of the law of the United States, a State or political
25   subdivision thereof,” and “(B) which was incurred in connection with the business of gambling
26   in violation of the law of the United States, a State or political subdivision thereof.”
27

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 1          88.     Because the Social Casino Enterprise collects debts incurred from a gambling
 2   activity in violation of California law, described herein, its profits derived from its ownership
 3   and maintenance constitute “unlawful debt” as defined in Section 1961(6).
 4          89.     Apple violated 18 U.S.C. § 1962(c) and § 1962(d) by participating in, facilitating,
 5   or conducting the affairs of the Social Casino Enterprise through a pattern of racketeering
 6   activity composed of indictable offenses under California Penal Code § 330b and § 330.1.
 7          90.     The affiliation between the Defendant Apple, the other Platforms, and the Illegal
 8   Slot companies constitutes a conspiracy to use an enterprise for the collection of unlawful debt
 9   in violation of 18 U.S.C. § 1962(d).
10                                        Social Casino Enterprise
11          91.      RICO defines an enterprise as “any individual, partnership, corporation,
12   association, or other legal entity, and any union or group of individuals associated in fact
13   although not a legal entity.” 18 U.S.C. § 1961(4).
14          92.     Under 18 U.S.C. § 1961(4) a RICO “enterprise” may be an association-in-fact
15   that, although it has no formal legal structure, has (i) a common purpose, (ii) relationships among
16   those associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s
17   purpose. See Boyle v. United States, 556 U.S. 938, 946 (2009).
18          93.     The Social Casino Enterprise is an association-in-fact composed of Apple,
19   Google, Facebook, and the Illegal Slot companies who are engaged in and whose activities affect
20   interstate commerce, and which have affected and damaged interstate commercial activity. This
21   Enterprise exists separately from the otherwise legitimate businesses operations of each
22   individual participant.
23          94.     The pattern of racketeering activity conducted by the members of the Social
24   Casino Enterprise is distinct from the Social Casino Enterprise itself, as each act of racketeering
25   is a separate offense committed by an entity while the Social Casino Enterprise itself is an
26   association-in-fact of legal entities. The Social Casino Enterprise has an informal structure of app
27   developers and platforms with continuing functions or responsibilities.
28

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 1          95.     For approximately a decade, the Social Casino Enterprise has collaborated
 2   together to target and retain high-spending users in their online gambling scheme throughout the
 3   country. At the very latest, following the Ninth Circuit’s March 18, 2018 holding in Kater,
 4   Defendant Apple and the other Platforms, on information and belief, mutually agreed to continue
 5   their Enterprise through their ongoing collection of unlawful debts, functioning as a cohesive
 6   unit with the purpose of gaining illicit gambling profits.
 7                                Structure of the Social Casino Enterprise
 8          96.     The Social Casino Enterprise consists of dozens of Illegal Slot companies and the
 9   Platforms (Apple, Google, and Facebook). Each participant agreed to conduct and carry out the
10   affairs and goals of the Social Casino Enterprise:
11             A. The Illegal Slot companies agreed to conduct the affairs of the Social Casino
12   Enterprise by developing, updating and operating the illegal slot machines: the “gambling
13   devices.” The Illegal Slot companies operate as the principals, forming the necessary business
14   partnerships with Apple, Google and Facebook for the successful execution of their unlawful
15   gambling scheme. The Illegal Slot companies fundamentally rely on the Platforms to host their
16   games, access consumers, and collect revenue. Upon constructive notice of the unlawful nature
17   of the virtual social gambling applications, the Illegal Slot companies agreed with all Enterprise
18   participants to uphold their roles in the Social Casino Enterprise and to continue functioning as a
19   single unit with the common purpose of collecting unlawful debts from online gambling activity.
20             B. Apple, Google and Facebook agreed to conduct the affairs of the Social Casino
21   Enterprise by serving as the gambling premises, hosting the virtual social gambling applications
22   and processing all in-app transactions in exchange for a share in the gamblers’ losses.
23   Additionally, upon notice of the unlawful nature of the virtual social gambling applications,
24   Apple, Google, and Facebook agreed with all participants to uphold their roles in the Social
25   Casino Enterprise and to continue functioning as a single unit with the common purpose of
26   collecting unlawful debts from online gambling activity.
27

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 1          97.     At all relevant times, each Social Casino Enterprise participant was aware of the
 2   conduct of the Social Casino Enterprise, was a knowing and willing participant in that conduct,
 3   and reaped profits from that conduct through in-app sales.
 4          98.     The persons engaged in the Social Casino Enterprise are systematically linked
 5   through contractual relationships, financial ties, and continuing coordination of activities.
 6          99.     All members of the Social Casino Enterprise coordinate and maintain their
 7   respective roles in order to enrich themselves and to further the common interests of the whole.
 8          100.    Each Social Casino Enterprise participant participated in the operation and
 9   management of the Social Casino Enterprise by directing its affairs as described herein.
10          101.    The wrongful conduct of the Social Casino Enterprise has been and remains part
11   of the Social Casino Enterprise’s ongoing way of doing business and constitutes a continuing
12   threat to the Plaintiffs’ and the Class’s property. Without the repeated illegal acts and intentional
13   coordination between all participants, the Social Casino Enterprise’s scheme would not have
14   succeeded and would not pose a threat to Plaintiffs and the Class into the future.
15                                     Pattern of Racketeering Activity
16          102.    The affairs of the Social Casino Enterprise were conducted in such a way to form
17   a pattern of racketeering activity. The Social Casino Enterprise’s general pattern of activity
18   consists of designing and operating illegal internet-based slot machines and repeatedly violating
19   public policy against gambling by:
20             A. Developing illegal slot machine games and disguising them as innocuous video
21                 game entertainment;
22             B. Distributing and operating illegal slot machine games that are, on information and
23                 belief, rigged and manipulated;
24             C. Concealing the scope and deceptive nature of their gambling applications despite
25                 knowledge of their predatory design and business model;
26             D. Providing a host platform to house unlicensed gambling activity;
27             E. Injuring the public interest by continuously advertising to and soliciting the general
28                 public to play illegal slot machines;

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 1               F. Conspiring to uphold the Social Casino Enterprise; and
 2               G. Unjustly collecting unlawful debts and retaining the profits from their illegal social
 3                    gambling applications.
 4             103.   The Social Casino Enterprise has operated as a continuous unit since at least
 5   2010.
 6             104.   Pursuant to and in furtherance of their fraudulent scheme, Apple committed
 7   multiple predicate act violations of California law as previously alleged herein, including
 8   violations of California Penal Code Sections 330b and 330.1.
 9                                         COUNT III
                                         RICO § 1962(d)
10        Conspiracy to Engage in Racketeering Activities and Collection of Unlawful Debts
                                  (Damages and Injunctive Relief)
11

12             105.   Plaintiffs incorporate by reference the foregoing allegations as if fully set forth
13   herein.
14             106.   18 U.S.C. § 1962(d) states that “[i]t shall be unlawful for any person to conspire
15   to violate any of the provisions of subsection (a), (b), or (c) of this section.”
16             107.   As described throughout, and in detail in Count II, even if it did not direct or
17   manage the affairs of the Social Casino Enterprise, Apple conspired to commit predicate acts in
18   violation of § 1962(c), including violations of California Penal Code §§ 330b and 330.1.
19             108.   Defendant Apple acted knowingly at all times when agreeing to conduct the
20   activities of the Social Casino Enterprise. Apple agreed to and indeed did participate in the
21   requisite pattern of racketeering activity which constitutes this RICO claim, collected unlawful
22   debts, engaged in racketeering activities, and intentionally acted in furtherance of the conspiracy
23   by conducting the pattern of racketeering and unlawful debt collection as described above.
24             109.   At the very latest, Apple had notice of the illegality of the Social Casino
25   Enterprise as of the Ninth Circuit’s 2018 holding in Kater. Apple’s post-Kater participation in
26   the Social Casino Enterprise demonstrates its commitment to upholding and operating the
27   structure of the Social Casino Enterprise.
28

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 1          110.     As a result of Apple’s conduct, Plaintiffs and Members of the Class were deprived
 2   of money and property that they would not otherwise have lost.
 3          111.     Under 18 U.S.C. § 1964(c), the Class is entitled to treble their damages, plus
 4   interest, costs, and reasonable attorneys’ fees.
 5                                        PRAYER FOR RELIEF
 6          Plaintiffs Donald Nelson and Cheree Bibbs, individually and on behalf of all others
 7   similarly situated, respectfully request that this Court enter an Order:
 8          a)       Certifying this case as a class action on behalf of the Class defined above,
 9   appointing Donald Nelson and Cheree Bibbs as representatives of the Class, and appointing their
10   counsel as Class Counsel;
11          b)       Declaring that Defendant’s conduct, as set out above, is unlawful under the UCL;
12          c)       Declaring that Defendant’s conduct, as set out above, constitutes racketeering
13   activities, collection of unlawful debts, and conspiracy to engage in the same;
14          d)       Entering judgment against Defendant Apple, in the amount of the losses suffered
15   by Plaintiffs and each member of the Class;
16          e)       Enjoining Defendant from continuing the challenged conduct;
17          f)       Awarding damages to Plaintiffs and the Class members in an amount to be
18   determined at trial, including trebling as appropriate;
19          g)       Awarding restitution to Plaintiffs and Class members in an amount to be
20   determined at trial,
21          h)       Requiring disgorgement of all of Apple’s ill-gotten gains;
22          i)       Awarding reasonable attorneys’ fees and expenses;
23          j)       Awarding pre- and post-judgment interest, to the extent allowable;
24          k)       Requiring injunctive and/or declaratory relief as necessary to protect the interests
25   of Plaintiffs and the Class; and
26          l)       Awarding such other and further relief as equity and justice require, including all
27   forms of relief provided for under the UCL and RICO.
28

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 1                                            JURY DEMAND
 2          Plaintiffs request a trial by jury of all claims that can be so tried.
 3
                                                    Respectfully Submitted,
 4
                                                    DONALD NELSON and CHEREE BIBBS,
 5                                                  individually and on behalf of all others similarly
                                                    situated,
 6
     Dated: January 22, 2021                        By: /s/ Todd Logan
 7                                                        One of Plaintiffs’ Attorneys
 8
                                                    Rafey S. Balabanian (SBN 315962)
 9                                                  rbalabanian@edelson.com
                                                    Todd Logan (SBN 305912)
10                                                  tlogan@edelson.com
                                                    Brandt Silver-Korn (SBN 323530)
11                                                  bsilverkorn@edelson.com
                                                    EDELSON PC
12                                                  123 Townsend Street, Suite 100
                                                    San Francisco, California 94107
13                                                  Tel: 415.212.9300 / Fax: 415.373.9435
14                                                  Counsel for Plaintiffs and the Proposed Class
15

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